UNITED STATES DISTRICT COURT
EDNY DISTRICT OF NEW YORK

   Santos Hernandez, Emmanuel De Jesus Lievano,
   and Miguel Antonio Vasquez                                 Case No. 2:20-cv-04026-JMA-SIL

                         -against-                            NOTICE OF APPEARANCE


   Michael Tizzano and Massimo Gamella Rossu
   Uptown LTD
                            Defendants.




       PLEASE TAKE NOTICE that Abraham Hamra Abraham Hamra Danielle Rosenberg Esq.,

of HAMRA LAW GROUP P.C. hereby enters her appearance on behalf of Defendants in the above-

entitled action. I am admitted to practice in this court and my bar number is DR-0628. All further

notice and copies of pleadings, papers and other material relevant to this action should be served upon

the undersigned at the address stated below.


Dated: November 9, 2020
       New York, NY
                                        HAMRA LAW GROUP P.C.


                                        /s/ DANIELLE ROSENBERG
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